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                        Exhibit C




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    ~r. Rtchard F. Jackson
    Pactflc Hood Praservtng
    Post Offtce Box 128
    Elmira, CA 95625

    ~CIFIC WOOD PRESERVING CORPOILA~’ION, SOLAHO COUNTY

    Qn 1 November 1979, staff n~de a ¢or~ltance Inspection of your wood
    treating plant.

    This inspection Indicates ~hat you are curreni;l~ in coezpltance wf~
    both the waste discharge requtraments governing ~he fac|ltty and Cleanup
    ~d Abatement Order tssued Z Hatch 1978. But, as noted in the staff
    ~mrandum, future sampllng of mnttortng ~mlls shall be done to assure
    continued compliance with wa!~r quallty cr|t~rta,

    Based upon this |nformatton, the Cleanup and Abatement. Order for Pac|ftc
    t~eo~ Preserv~n9 Co~porat|on Is ~eraby rescinded.




    a,e~Es A. i~OBERTSON
    Exec~t] ve Officer



    Enclosure




                                    DTSC, et al. v. Jim Dobbas, Inc., et al.
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    TO:            Start Phillippe               DATE:   19 November 1979
     FROM:         Greg K. Vaugbn
    SUBJECT:       PACIFIC WOOD PRESERVING


    On l November 1979, I inspected the subject facility to ascertain complianc~
    with the Cleanup and Abatement Order issued 2 March 1978 and with Board Order
    No. 79-56. Inspection was made in company of Mro Richard Jackson, owner-
    manager. Inspection revealed that all the work has now been co, feted as
    illustrated in CH2M Hill’s report of 9 May 1979 and Pacific Wood’s letter of
    19 October 1979. This included the complete removal of all contaminated
    soil to a Class I landfill and its replacement with clean native soils. The
    upgrading of the wood treating facilities is now co~lete, including construc-
    tion of an additional 70,000 gallon holding tank to prevent further discharges
    to surface waters and surface water drainage courses.
    It should be noted that the first monitoring report submitted showed levels of
    chromium approaching ~drinking water standards. Pacific Wood will continue
    monitoring shallow groundwater to determine what effect, if any, the spills
    from the plant have had on groundwater. Three shallow welis and one deep
    well are provided on-site in accordance with Monitoring Program No. 79-56
    and are to be sampled semi-annually.
    gith cleanup complete and measures constructed to prevent further incidences
    of spillage, the facility is now in compliance with the Cleanup and Abatement
    Order and the governing waste discharge requirements.




                                       GREG K.JVAUGHN, Ar~ Engineer

    GKV/gs
    cc: .Pacific Wood Preserving




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